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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

LEROY MCCAMBRY.

       Plaintiff,
                                                            No.
       VS.


CHICAGO POLICE OFFICER MELVIN BAILEY                  )
 (STAR NO. 16788), CHTCAGO POLICE                     )
OFFICER DOUGLAS E. NICHOLS, JR.                       )
(srARNO. 1241s), CHTCAGO POLICE
oFFrcER MANUEL LEANO (STAR NO. 4303),                       Jury Demanded
CHICAGO POLICE OFFICER RONALD WATTS
 (STAR NO. 2640) Individually and as                  )
Employees/Agents of the CITY OF CHICAGO,              )
a Municipal Corporation,

       Defendants.

                                    COMPLAINT AT LAW

       NOW COMES the Plaintiff, LEROY MCCAMBRY, by and through his attorney,

CHARLES M. SHEPHERD, and for his Complaint against Defendants, CHICAGO POLICE

oFFrcER MELVIN BATLEY (STAR NO. 16788), CHTCAGO POLICE OFFICER MANUEL

LEANO (STAR NO. 4303), CHICAGO POLICE OFFICER DOUGLAS E. NICHOLS,                           JR.

(STAR NO. 12415), CHTCAGO POLTCE OFFTCER RONALD WATTS (STAR NO. 2640),

individually and    as Employees/Agents   of the CITY OF CHICAGO, states as follows:

                                          INTRODUCTION

       l.      This is an action for civil damages brought pursuant to 42 U.S.C. Sec. 1983 for

the deprivation of plaintiffs' constitutional rights. This Court has jurisdiction pursuant to 28

U.S.C. Sec. 1331 and 1343.
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            2.   Venue in this district is proper pursuant to 28 U.S.C Sec. 1391 (b), because the

facts which give rise to the claims asserted herein occurred in the Northem District of Illinois.

            3.   Plaintiff LEROY MCCAMBRY is an individual who at all times relevant hereto

was living in the Northern District of llhnors.

            4.   Defendant, CHICAGO POLICE OFFICER MELVIN BAILEY (STAR NO.

16788) was, at all times material hereto, a duly appointed Chicago Police Officer employed by

the City of Chicago who was on duty and acting in the capacity of a sworn law enforcement

official.

            5.   Defendant, CHICAGO POLICE OFFICER DOUGLAS E. NICHOLS, JR. (STAR

NO. 12415) was, at all times material hereto, a duly appointed Chicago Police Officer employed

by the City of Chicago who was on duty and acting in the capacity of a sworn law enforcement

official.

            6.   Defendant, CHICAGO POLICE OFFICER MANUEL LEANO (STAR NO.

4303) was, at all times material hereto, a duly appointed Chicago Police Officer employed by the

City of Chicago who was on duty and acting in the capacity of a swom law enforcement official.

            7.   Defendant, CHICAGO POLICE OFFICER RONALD WATTS (STAR NO.

2640) was, at all times material hereto, a duly appointed Chicago Police Officer employed by the

City of Chicago who was on duty and acting in the capacity of a swom law enforcement official.

                                     FACTUAL SUMMARY

            8.   On October 21, 2009, Plaintiff LEROY MCCAMBRY ("McCambry")                         was

pursued by CHICAGO POLICE OFFICER MELVIN BAILEY (STAR NO. 16788) ("Bailey")

for grabbing a purse from a motor vehicle.
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       g.       The pursuit   of McCambry began at         47n   and Prairie in Chicago, Illinois.

McCambry was on foot and Bailey was driving a marked Chicago Police motor vehicle. The

pursuit ended    at   47th and Calumet when Bailey drove onto        the sidewalk and ran down

McCambry with his motor vehicle.


       10.      Upon exiting the motor vehicle, McCambry did not resist Bailey. McCambry

immediately informed Bailey that he was in extreme physical pain, that he could not move, that

his hip was broken and he could not stand up. McCambry requested medical care and               an

ambulance. Bailey ignored the pleas of McCambry, screamed at McCambry and beat him over

the head and   body. Bailey then dragged McCambry approximately 8 feet to his car.


        11.     Bailey was joined by CHICAGO POLICE OFFICER DOUGLAS E. NICHOLS,

JR. (STAR NO. 12415) ("Nichols") and CHICAGO POLICE OFFICER MANUEL LEANO

(STAR NO. 4303) ("Leano"). McCambry immediately informed Nichols and Leano that he was

in extreme physical pain, that his hip was injured and he could not stand up. McCambry again

requested medical care and an ambulance. Bailey, Nichols and Leano        all ignored McCambry's

pleas and threw him in the back of their police vehicle.


        12.     Nichols and Leano drove McCambry to the Chicago Police 2nd District for

processing. McCambry informed Nichols and Leano that Bailey had hit him with the motor

vehicle and that his hip was      injtned. McCambry again requested medical care and            an

ambulance. Nichols and Leano ignored McCambry's pleas and told him to shut up.


        13.     When McCambry arrived at the 2nd District, he could not        walk. Nichols and

Leano then dragged McCambry into the police station and handcuffed McCambry to the wall.
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          14.   McCambry told police officers at the 2nd District that he could not walk and that

his hip was broken. Bailey told McCambry to shut up and not ask for an ambulance and not to

go to the hospital. McCambry informed CHICAGO POLICE OFFICER RONALD WATTS

(STAR NO. 2640) ("Watts") that he was in extreme physical pain, requested medical care and

requested transportation to a hospital. Watts told McCambry to shut up and not to go to the

hospital. Watts informed McCambry that if McCambry went to the hospital, the police offrcers

would put a gun case on him and put cases on him.


          15.   McCambry informed Bailey, Nichols, Leano and Watts that he was in physical

pain, that he needed medical attention and needed to go to the hospital. Bailey, Nichols, Leano

and Watts ignored McCambry's pleas for hours and refused to provide him with any medical

care.


          16. An unidentified individual eventually        called an ambulance for McCambry.

McCambry was transferred to Provident Hospital where medical doctors determined that he had

multiple fractures of the left hemipelvis, linear fractures through the left pubic bone, linear

fractures through the left inferior pubic ramus and a fracture separation of the left ischial bone.


          I7.   Nichols conspired with Bailey, Leano and Watts to coverup their misconduct with

respect   to McCambry. Nichols falsified his police report omitting the fact that McCambry was

struck by the police car and falsely stating that Dr. Bhatt of Provident hospital had informed

Nichols that McCambry was in stable condition with no apparent injuries.


          18.   In November,2009, Nichols falsely testified about this matter before the Grand

Jury    of Cook County, Illinois. Nichols falsely       testified that during Bailey's pursuit of

McCambry, McCambry fell between a fence and Bailey's car.
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                                              COUNT      I
                                           42 U.S.C. S 1983
                                       EXCESSIVE FORCE

        19.     Plaintiffs re-allege and incorporate paragraphs l-18 as fully stated herein.

        20. As described above, Defendant,              CHICAGO POLICE OFFICER MELVIN

BAILEY (STARNO. 16788) used excessive force while pursuing and arresting McCambry.

        21.     Bailey used deadly force in the apprehension of McCambry which was not

warranted and/or necessary.

        22.     The misconduct described in this Count was undertaken with malice, willfulness,

and reckless indifference to the rights of others, and specifically, the rights of the Plaintiff.

        23.     As a result of the above-described wrongful infringement of Plaintifls rights,

Plaintiff suffered damages including, but not limited to, physical injury, permanent physical

injury, mental distress and anguish.

                                              COUNT     II
                                       42 U.S.C. S 1983
                                  DENIAL OF MEDICAL CARE

        24.     Plaintiffs re-allege and incorporate paragraphs 1-18 as fully stated herein.

        25. As described above,          Defendants, CHICAGO POLICE OFFICER MELVIN

BAILEY (STAR NO. 16788), CHICAGO POLTCE OFFICER MANUEL LEANO (STAR NO.

4303), CHICAGO POLICE OFFICER DOUGLAS E. NICHOLS, JR. (STAR                               NO.   12415),

CHICAGO POLICE OFFICER RONALD WATTS (STAR NO. 2640) violated the

Constitutional rights of McCambry by showing deliberate indifference to serious medical needs

of McCambry.

        26.     The misconduct described in this Count was undertaken with malice, willfulness,

and reckless indifference to the rights of others, and specifically, the rights of the Plaintiff.
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       27.       As a result of the above-described wrongful infringement of Plaintiff s rights,

Plaintiff suffered damages including, but not limited to, physical injury, permanent physical

injury, mental distress and anguish.

                                   COUNT III
                               STATE LAW CLAIM
                 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       28.       Plaintiffs re-allege and incorporate paragraphs 1-18 as fully stated herein.

       29.       As described above, the acts and conduct of the individual Defendants as set forth

above were extreme and outrageous. The Defendants intended             to   cause or were   in   reckless

disregard of the probability that their conduct would cause severe emotional distress to Plaintiff,

as is more   fully alleged above.

       30.       The individual Defendants' actions and conduct did directly and proximately

cause severe emotional distress     to Plaintiff, and thereby constituted intentional infliction of

emotional distress.

        31.      The misconduct described in this Count was undertaken with malice, willfulness

and reckless indifference to the rights of Plaintiff and others.

        32.      As a proximate result of Defendants' wrongful acts, Plaintiff suffered injuries,

including, but not limited to, emotional distress.

                                          COUNT IV
                                      STATE LAW CLAIM
                                    RE,SPONDEAT SUPERIOR

        33.      Plaintiffs re-allege and incorporate paragtaphs 1-18 as fully stated herein.

        34.      In committing the acts alleged in the preceding paragraphs, all of the individual

Defendants were members of or otherwise were agents of the Chicago Police Department, acting

at all relevant times with the scope of their employment and under color of law.
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          35.   Defendant City of Chicago is liable as principal for all torts committed by its

agents.

                                           COUNT V
                                       STATE LAW CLAIM
                                       INDEMNIFICATION

          36.   Plaintiffs re-allege and incorporate paragraphs    1-   1   8 as   fully stated herein.

          37.   Plaintiff repeats and realleges the preceding paragraphs as if fully alleged herein.

          38.   Illinois law provides that public entities are directed to pay any tort judgment

form compensatory damages for which employees are liable within the scope of their

employment activities.

          39.   The individual defendants are or were employees of the Chicago Police

Department who acted within the scope of their employment                   in committing the misconduct

described herein.

                                     REQUEST FOR RELIEF

          40.   Plaintiff respectfully requests that this Court:

          a.    Enter judgment as to each claim in his favor and against Defendants CHICAGO
                POLTCE OFFTCER MELVIN BAILEY (STAR NO. 16788), CHICAGO POLICE
                OFFICER MANUEL LEANO (STAR NO. 4303), CHICAGO POLICE
                OFFICER DOUGLAS E. NICHOLS, JR. (STAR NO. 12415), CHICAGO
                pol.rcE OFFICER RONALD WATTS (STAR NO. 2640);

                Award compensatory damages against Defendants CHICAGO POLICE
                OFFICER MELVIN BAILEY (STAR NO. 16788), CHICAGO POLICE
                oFFrcER MANUEL LEANO (STAR NO. 4303), CHICAGO POLICE
                OFFICER DOUGLAS E. NICHOLS, JR. (STAR NO. 12415), CHICAGO
                polrcE OFFICER RONALD WATTS (STAR NO. 2640);

          c.    Award reasonable attorneys' fees and the costs of this action against Defendants
                cHrcAGo PoLrcE OFFICER MELVIN BAILEY (STAR NO.                                            16788),
                CHICAGO POLTCE OFFICER MANUEL LEANO (STAR NO. 4303),
                CHICAGO POLICE OFFICER DOUGLAS E. NICHOLS, JR. (STAR NO.
                12415), CHICAGO POLICE OFFICER RONALD WATTS (STAR NO. 2640);
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               Award punitive damages against Defendants CHICAGO POLICE OFFICER
               MELVIN BAILEY (STAR NO. 16788), CHICAGO POLICE OFFICER
               MANUEL LEANO (STAR NO. 4303), CHICAGO POLICE OFFICER
               DOUGLAS E. NICHOLS, JR. (STAR NO. 12415), CHICAGO POLICE
               oFFrcER RONALD WATTS (STAR NO. 2640);

       e.      Grant any other relief this Court deems just and appropriate.

                                            JURY DEMAND

       Plaintiff LEROY MCCAMBRY demands a trial by jury under the Federal Rule of Civil

Procedure 38(b) on all issues so triable.



                                                            Respectfully Submitted
                                                            LEROY MCCAMBRY



                                                                    One of His Attorneys



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